              Case 2:21-bk-52150                  Doc 1     Filed 06/21/21 Entered 06/21/21 20:20:42                               Desc Main
                                                            Document     Page 1 of 14

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                5AAB Transport, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  445 Commerce Square
                                  Columbus, OH 43228
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Franklin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://5aabtransport.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 2:21-bk-52150                    Doc 1        Filed 06/21/21 Entered 06/21/21 20:20:42                                      Desc Main
                                                                 Document     Page 2 of 14
Debtor    5AAB Transport, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4731

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
               Case 2:21-bk-52150                       Doc 1        Filed 06/21/21 Entered 06/21/21 20:20:42                                 Desc Main
                                                                     Document     Page 3 of 14
Debtor    5AAB Transport, LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 2:21-bk-52150           Doc 1        Filed 06/21/21 Entered 06/21/21 20:20:42                      Desc Main
                                                       Document     Page 4 of 14
Debtor   5AAB Transport, LLC                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
              Case 2:21-bk-52150                Doc 1       Filed 06/21/21 Entered 06/21/21 20:20:42                                 Desc Main
                                                            Document     Page 5 of 14
Debtor    5AAB Transport, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 21, 2021
                                                  MM / DD / YYYY


                             X   /s/ Navdeep Sidhu                                                        Navdeep Sidhu
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ James A. Coutinho                                                     Date June 21, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James A. Coutinho 0082430
                                 Printed name

                                 Allen Stovall Neuman & Ashton LLP
                                 Firm name

                                 17 South High Street
                                 Suite 1220
                                 Columbus, OH 43215
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (614) 221-8500                Email address      coutinho@asnalaw.com

                                 0082430 OH
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
              Case 2:21-bk-52150                  Doc 1   Filed 06/21/21 Entered 06/21/21 20:20:42                               Desc Main
                                                          Document     Page 6 of 14
Debtor     5AAB Transport, LLC                                                              Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     5AAB Holding, LLC                                                       Relationship to you               Affiliate
District   Southern District of Ohio                  When     6/21/21             Case number, if known
Debtor     Heavy Diesel Service, LLC                                               Relationship to you               Affiliate
District   Southern District of Ohio                  When     6/21/21             Case number, if known
Debtor     SJS Transport, LLC                                                      Relationship to you               Affiliate
District   Southern District of Ohio                  When     6/21/21             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 6
                 Case 2:21-bk-52150                        Doc 1       Filed 06/21/21 Entered 06/21/21 20:20:42                                         Desc Main
                                                                       Document     Page 7 of 14

 Fill in this information to identify the case:
 Debtor name 5AAB Transport, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF OHIO                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Expess                                                 Business Credit                                                                                          $47,005.17
 PO Box 0001                                                     Card
 Los Angeles, CA                 1 (800) 528-4800
 90096
 Azuga Fleet Service             Lee Alonzo                      Business Services                                                                                            $601.82
 42840 Christy St.
 #205                            leea@azuga.com
 Fremont, CA 94538               (888) 790 0715
 Capital One                                                     Business Credit                                                                                          $29,920.74
 PO Box 85015                                                    Card
 Richmond, VA                    1 (877) 383-4802
 23285
 CarrierNet Group                Ryan Noonan     Receivables                                                        $207,746.42                        $0.00            $207,746.42
 Financial, Inc.                                 Factoring
 520 W. 10th St.                 Ryan.Noonan@Car Services
 Sioux Falls, SD                 rierNet.com
 57104                           (605) 306-4101
 CFBank                                          PPP Loan                                                                                                                 $39,000.00
 7000 North High
 Street                          614-334-7979
 Columbus, OH
 43085
 Columbia Gas of                                                 Business Utility                                                                                           $1,133.00
 Ohio                                                            Service
 PO Box 4629                     1 (800) 344-4077
 Carol Stream, IL
 60197
 DAT Solutions                                                   Business Services                                                                                            $345.72
 8405 SW Nimbus
 Ave.                            1 (800) 551-8847
 Beaverton, OR
 97008
 De Lage Landen                                                  Vehicle Loans                                                                                            $24,571.41
 1111 Old Eagle
 School Road                     (610) 386-5000
 Wayne, PA
 19087-1453


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case 2:21-bk-52150                        Doc 1      Filed 06/21/21 Entered 06/21/21 20:20:42                                          Desc Main
                                                                      Document     Page 8 of 14


 Debtor    5AAB Transport, LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 First Financial Bank            Jeffrey M.                      Secured Loan                                    $1,154,000.00                         $0.00            $179,000.00
 255 East Fifth St.,             Hendricks, Esq.
 Ste. 700
 Cincinnati, OH                  jhendricks@graydo
 45202                           n.law
                                 (513) 621-6464
 Interactive                                                     Business Services                                                                                            $160.00
 Protection Services
 6500 Busch Blvd Ste             (614) 468-1680
 114
 Columbus, OH
 43229
 Internal Revenue                                                941 Tax                                                                                                    $2,468.25
 Service                                                         Obligations
 District Director,
 Insolvency Section
 PO Box 1579
 Cincinnati, OH
 45201
 IPFS Corporation                                                Business Services                                                                                            $942.17
 1055 Broadway
 Kansas City, MO                 (866) 412-2431
 64105
 JPMorgan Chase                                                  Business Credit                                                                                          $29,964.69
 PO Box 15123                                                    Card
 Wilmington, DE                  (614) 248-2444
 19850
 Ohio Turnpike                                                   Business Services                                                                                            $875.34
 PO Box 460
 Berea, OH 44017                 (440) 234-2081
 Prepass                                                         Business Services                                                                                            $276.50
 2500 South 3850
 West Suite C                    1-800-773-7277
 Salt Lake City, UT
 84120
 Rumpke                                                          Business Services                                                                                            $192.00
 819 Island Rd.
 Circleville, OH 43113           (800) 828-8171
 Sentry Select                                                   Business                                                                                                   $5,708.54
 Insurance Company                                               Insurance
 1800 North Point                (800) 473-6879
 Drive
 Stevens Point, WI
 54481
 Sprint                                                          Business                                                                                                     $890.05
 PO Box 4181                                                     Communication
 Carol Stream, IL                (888) 211-4727                  Services
 60197
 Truckwin                                                        Business Services                                                                                            $250.00
 500 W 10th St.
 Sioux Falls, SD                 (800) 477-2595
 57104


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                 Case 2:21-bk-52150                        Doc 1      Filed 06/21/21 Entered 06/21/21 20:20:42                                          Desc Main
                                                                      Document     Page 9 of 14


 Debtor    5AAB Transport, LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Vonage                                                          Business                                                                                                     $339.71
 23 Main Street                                                  Communication
 Holmdel, NJ 07733               (732) 944-0000                  Services




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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            Case 2:21-bk-52150                        Doc 1           Filed 06/21/21 Entered 06/21/21 20:20:42                               Desc Main
                                                                     Document      Page 10 of 14
                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      5AAB Transport, LLC                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Hardeep Singh                                                                        50%                                        Member
 822 Oakley Dr.
 Delaware, OH 43015

 Navdeep Sidhu                                                                        50%                                        Member
 945 Rambling Brook Way
 Delaware, OH 43015


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date June 21, 2021                                                          Signature /s/ Navdeep Sidhu
                                                                                            Navdeep Sidhu

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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    Case 2:21-bk-52150   Doc 1    Filed 06/21/21 Entered 06/21/21 20:20:42   Desc Main
                                 Document      Page 11 of 14


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                         American Expess
                         PO Box 0001
                         Los Angeles, CA 90096

                         Azuga Fleet Service
                         42840 Christy St. #205
                         Fremont, CA 94538

                         BBS Cargo, LLC
                         8338 Orange Station Loop
                         Lewis Center, OH 43035

                         Capital One
                         PO Box 85015
                         Richmond, VA 23285

                         CarrierNet Group Financial, Inc.
                         520 W. 10th St.
                         Sioux Falls, SD 57104

                         Central Ohio Forklifts
                         4150 Perimeter Dr.
                         Columbus, OH 43228

                         CFBank
                         7000 North High Street
                         Columbus, OH 43085

                         City of Columbus
                         Dept of Public Utilities
                         910 Dublin Road
                         Columbus, OH 43215-9060

                         Columbia Gas of Ohio
                         PO Box 4629
                         Carol Stream, IL 60197

                         DAT Solutions
                         8405 SW Nimbus Ave.
                         Beaverton, OR 97008

                         De Lage Landen
                         1111 Old Eagle School Road
                         Wayne, PA 19087-1453

                         First Financial Bank
                         255 East Fifth St., Ste. 700
                         Cincinnati, OH 45202

                         First Financial Bank
                         c/o Corporation Service Company
                         50 West Broad St., Ste. 1339
                         Columbus, OH 43215
Case 2:21-bk-52150   Doc 1    Filed 06/21/21 Entered 06/21/21 20:20:42   Desc Main
                             Document      Page 12 of 14



                     Hardeep Singh
                     822 Oakley Dr.
                     Delaware, OH 43015

                     Interactive Protection Services
                     6500 Busch Blvd Ste 114
                     Columbus, OH 43229

                     Internal Revenue Service
                     District Director, Insolvency Section
                     PO Box 1579
                     Cincinnati, OH 45201

                     IPFS Corporation
                     1055 Broadway
                     Kansas City, MO 64105

                     J&D Carrier, LLC
                     3846 Schooner Ct.
                     Columbus, OH 43221

                     Jeffrey M. Hendricks, Esq.
                     Graydon Head & Ritchey LLP
                     312 Walnut St., Ste. 1800
                     Cincinnati, OH 45202

                     JPMorgan Chase
                     PO Box 15123
                     Wilmington, DE 19850

                     Kincaid Insurance Group
                     PO Box 278
                     321 Main St.
                     Rockport, IN 47635

                     Nova Trucks, LLC
                     2040 Sondra Ln.
                     Grove City, OH 43123

                     Ohio Turnpike
                     PO Box 460
                     Berea, OH 44017

                     Prepass
                     2500 South 3850 West Suite C
                     Salt Lake City, UT 84120

                     Rumpke
                     819 Island Rd.
                     Circleville, OH 43113

                     Sentry Select Insurance Company
                     1800 North Point Drive
                     Stevens Point, WI 54481
Case 2:21-bk-52150   Doc 1    Filed 06/21/21 Entered 06/21/21 20:20:42   Desc Main
                             Document      Page 13 of 14



                     Sorano Apartments
                     12046 Clark St.
                     Moreno Valley, CA 92557

                     Sprint
                     PO Box 4181
                     Carol Stream, IL 60197

                     Truckwin
                     500 W 10th St.
                     Sioux Falls, SD 57104

                     US Attorney
                     303 Marconi Blvd., Ste. 200
                     Columbus, OH 43215

                     Vonage
                     23 Main Street
                     Holmdel, NJ 07733
            Case 2:21-bk-52150                        Doc 1           Filed 06/21/21 Entered 06/21/21 20:20:42             Desc Main
                                                                     Document      Page 14 of 14



                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      5AAB Transport, LLC                                                                            Case No.
                                                                                  Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 5AAB Transport, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 21, 2021                                                         /s/ James A. Coutinho
 Date                                                                  James A. Coutinho 0082430
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for 5AAB Transport, LLC
                                                                       Allen Stovall Neuman & Ashton LLP
                                                                       17 South High Street
                                                                       Suite 1220
                                                                       Columbus, OH 43215
                                                                       (614) 221-8500 Fax:(614) 221-5988
                                                                       coutinho@asnalaw.com




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